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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                           §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §   CIVIL ACTION NO. 3:19-CV-03016-X
                                                 §
GRANT STINCHFIELD,                               §
                                                 §
       Defendant.                                §
                                                 §


                                 NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that Alessandra Allegretto of the law firm Brewer, Attorneys

& Counselors, 1717 Main Street, Suite 5900, Dallas, Texas 75201, hereby appears in this case as

counsel for Non-Party The National Rifle Association of America. Counsel respectfully requests

that all notices given or required to be given in this case by the Court and/or any other parties in

interest in this case be served upon Brewer, Attorneys & Counselors at the address and telephone

number set forth below.
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Dated: October 20, 2020                      Respectfully submitted,

                                             BREWER, ATTORNEYS & COUNSELORS


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                                             ATTORNEYS FOR PLAINTIFF AND
                                             COUNTER-DEFENDANT NATIONAL RIFLE
                                             ASSOCIATION OF AMERICA


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 20th day of

October 2020.

                                             /s/ Alessandra Allegretto
                                             Alessandra Allegretto




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